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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN


J.K.J.,

                               Plaintiff,                           OPINION AND ORDER
          v.
                                                                         15-cv-428-wmc
POLK COUNTY SHERIFF’S DEPARTMENT
and DARRYL L. CHRISTENSEN,

                               Defendants,

and

WISCONSIN COUNTY MUTUAL INSURANCE
CORPORATION

                               Intervenor.

and

M.J.J.,

                               Plaintiff,
          v.
                                                                         15-cv-433-wmc
POLK COUNTY SHERIFF’S DEPARTMENT
and DARRYL L. CHRISTENSEN,

                               Defendants,

and

WISCONSIN COUNTY MUTUAL INSURANCE
CORPORATION

                               Intervenor.


          In these civil actions, plaintiffs J.K.J. and M.J.J. assert claims against defendants Polk

County and Darryl L. Christensen, a former correctional officer for Polk County, based on

Christensen’s alleged sexual assault of plaintiffs while incarcerated at the Polk County Jail.

Wisconsin County Mutual Insurance Corporation (“WCMIC”) intervened, seeking a
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declaration that it has no duty to defend or cover defendant Christensen.              The court

recently consolidated these two cases. Before the court are WCMIC’s motions for summary

judgment on that issue (‘428 dkt. #30; ‘433 dkt. #31), to which defendant Christensen did

not respond, but plaintiffs opposed.       For the reasons that follow, the court will grant

WCMIC’s motions.



                                    UNDISPUTED FACTS1

    A. The Parties

       Defendant Darryl L. Christensen was employed as a correctional officer or jailer with

Polk County from June 30, 1996, until October 30, 2014. Plaintiff J.K.J. was incarcerated

in the Polk County Jail on four separate occasions: in August 2012, from March to June,

2013, from February 18 to June 4, 2014, and in October 2014.                 Plaintiff M.J.J. was

incarcerated in the Polk County Jail on nine different locations between November 3, 2011,

and January 22, 2014.


    B. Sexual Interactions with Plaintiffs

       While incarcerated, Christensen allegedly engaged in sexual contact with J.K.J. on

numerous occasions.      Specifically, J.K.J. alleges that she had vaginal intercourse with

Christensen on one occasion and oral sex on three occasions while an inmate in the Polk

County Jail.




1
  In addition to responding to some of WCMIC’s proposed findings of facts, plaintiffs submitted
their own proposed findings, the great bulk of which are not material to the present motion.
Accordingly, the court sets forth here only those findings that are material to determining WCMIC’s
duty, if any, to cover the claims asserted against Christensen here.

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       While J.K.J. was an inmate, Christensen admits that he participated in sexual talk

with J.K.J., touched her beneath her underwear and inserted his finger into her vagina, and

had J.K.J. perform oral sex on him. While Christensen denies that he had vaginal sexual

intercourse with J.K.J. while she was imprisoned,2 he acknowledges that the other sexual

interactions with J.K.J. in the Polk County Jail occurred between five and ten times.

       Christensen told J.K.J. not to say anything about these sexual interactions, because

he could lose his job.      J.K.J. did not report Christensen’s sexual interactions with her

because she did not want him to get into trouble.

       Christensen also engaged with sexual activity with M.J.J. during her employment.

Christensen began by making sexual comments.                M.J.J. alleges that she had sexual

intercourse with Christensen in the booking room, in the X-Room, and in a bathroom off of

the X-Room, and that she performed oral sex on Christensen. M.J.J. estimates that all

together she had sexual contact with Christensen on more than fifty occasions.

       Christensen admits that he put his hand in M.J.J.’s underwear and inserted his finger

into her vagina and that she performed oral sex on him, though he denies that he had

vaginal sexual intercourse with M.J.J. Christensen estimated that he had sexual contact

with M.J.J. between 15 and 20 times.

       M.J.J. did not report Christensen’s conduct, keeping it a secret out of concern that

she would get in trouble. Christensen would also ask M.J.J. from time to time whether she

was going to tell anyone, telling her that he would lose is wife, children and job if she did.




2
 J.K.J. also alleges that she had sexual intercourse with Christensen on two other occasions when she
was not incarcerated, each time at the Amery Fire Department, where Christensen was the Fire
Chief. Christensen admits this conduct, but it falls outside the scope of the claims at issue here.
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       Christensen resigned his employment with Polk County the same day he became

aware that allegations were being made about his sexual contact with an inmate.

Christensen was criminally charged with five counts of second degree sexual assault in

violation of Wis. Stat. § 940.225(2)(h), a Class C felony, prohibiting “sexual contact or

sexual intercourse with an individual who is confined in a correctional institution if the

actor is a corrections staff member.”       Count 1 of the criminal charges filed against

Christensen related to his sexual interactions with J.K.J., and Count 5 related to his sexual

interactions with M.J.J. Christensen pleaded guilty to all five counts.


   C. Duties of Correctional Officer

       When Christensen began his employment with Polk County, he was certified by the

Wisconsin Law Enforcement Standards Board as being qualified to be a jail officer. Part of

his certification involved training that it was unlawful for jail officers to have sexual contact

with inmates. When Christensen began employment, he also received a copy of the policy

and procedural manual for the jail.      That policy provided in pertinent part: “Under no

circumstances will any inmate be the object of verbal, physical, emotional, psychological or

sexual harassment by facility staff.     Any officer engaged in such actions is subject to

disciplinary charges and/or termination.” (WCMIC’s PFOFs (dkt. #32) ¶ 14.) Christensen

also knew that his sexual interactions with plaintiffs were in violation of the Wisconsin

Criminal Code, though he may have believed at the time that inmates were able to consent

to sexual contact. Christensen also knew that Polk County policies prohibited him from

having sex with inmates.




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       On those occasions when Christensen had sexual contact with plaintiffs at Polk

County Jail in violation of the Wisconsin criminal code, his training, and jail policy, he was

on duty as a correctional officer, wore a uniform and badge, and carried handcuffs and a

taser. On all of these occasions, Christensen was also in control of plaintiffs as inmates. In

fact, the sexual contacts occurred in the jail pod where plaintiffs were housed, when no

other guards were present.

       When Christensen engaged in sexual interactions with plaintiffs, he testified at his

deposition that he did so for the sole purpose of his own personal gratification, and not for

any reason that served the interests of Polk County.


    D. Insurance Policy

       WCMIC issued a “Public Entity Liability Policy” to Polk County, which provided

insurance covering four consecutive, one-year periods from January 1, 2011, to January 1,

2015.3 The policy provides coverage for several types of alleged damages, including bodily

injury, personal injury, and errors and omissions. (Bisek Aff., Exs. 1-4 (dkt. #13-1 to 13-

4).) The policy defines “insured” as follows:

               1. You, and

               2. Your past and present employees or elected or appointed
               officials while acting within the scope of their employment or
               authority, and authorized volunteers, while acting for you or on
               your behalf.

(Bisek Aff., Ex. 4 (dkt. #13-4) 39.)




3
  WCMIC actually issued a series of annual policies for each of those four years. Since the terms of
these policies apparently did not change in any material respect, for ease of reference, the court will
simply refer to language in the 2014 policy in this opinion. (Id., Ex. 4 (dkt. #13-4).)
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       “Bodily injury” is defined as “bodily, injury, sickness, disability or disease, sustained

by a person during the policy period, including death resulting from any of these at any

time.” (Id. at 47.) “Personal injury” is defined in WCMIC’s policies as an “injury, other

than bodily injury,” arising out of various offenses, including “assault and battery, including

sexual molestation.”   (Id. at 48-49.)   Errors and omissions coverage is defined as “any

misstatement or misleading statement or act or omission or neglect or breach of duty during

the policy period, including misfeasance, malfeasance and nonfeasance by an insured in their

capacity as such.” (Id. at 47.)

       Among others, the policy contains coverage exclusions for:            (1) bodily injury

“expected or intended from the standpoint of the insured”; and (2) personal injury arising

out of “the intentional or knowing violation of the penal statute or ordinance committed by

or with the consent of the insured.” (Id. at 40, 44.) With respect to errors and omissions

coverage, the policy similarly contains an exclusion for: (3) “the willful violation of a penal

code or ordinance committed by or with the consent of any insured”; and (4) “any

deliberately wrongful act, omission or breach of duty committed by or with the consent of

any insured.” (Id. at 44-45.)



                                          OPINION

       “To determine whether a duty to defend exists, the complaint claiming damages

must be compared to the insurance policy and a determination made as to whether, if the

allegations are proved, the insurer would be required to pay the resulting judgment.” Sch.

Dist. of Shorewood v. Wausau Ins. Cos., 170 Wis. 2d 347, 364-65, 488 N.W.2d 82, 87-88.

See also Estate of Sustache v. Am. Family Mut. Ins. Co., 2008 WI 87, ¶ 20, 311 Wis. 2d 548,

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751 N.W.2d 845. Limiting the examination to the complaint and the insurance policy is

commonly referred to as the “four-corners rule,” Sustache, 2008 WI 87, ¶ 27, although that

rule allows for some flexibility “[w]here the insurer has provided a defense to its insured, a

party has provided extrinsic evidence to the court, and the court has focused in a coverage

hearing on whether the insured’s policy provides coverage for the plaintiff’s claim.” Id. at ¶

29 (emphasis omitted).       Regardless, “[t]he insurer’s duty to continue to defend is

contingent upon the court’s determination that the insured has coverage if the plaintiff proves

his case.” Id. (emphasis added).

       In this case in particular, any flexibility in the four-corners rule makes little

difference.   As reflected in their respective deposition testimony, plaintiffs reaffirm the

allegations contained in their complaints.         Moreover, while Christensen disputes the

specifics of his sexual encounters, he admits to sexual contact with both plaintiffs at the jail

while employed as a correctional officer.

       In light of these undisputed facts, consideration of any conflicting, extrinsic evidence

does not change the test for this court. To determine whether a duty to defend exists, the

court initially determines whether the insurance policy “makes an initial grant of coverage --

i.e., whether the insurer has a duty to indemnify its insured -- for the claims asserted.”

Sustache, 2008 WI 87, ¶ 22. If the court finds an initial grant of coverage, the court next

“examine[s] the policy’s exclusions to determine whether they preclude coverage.” Id. at ¶

23. Should an exclusion apply, the court finally “look[s] to see whether any exception to

that exclusion reinstates coverage.” Am. Family Mut. Ins. Co. v. Am. Girl, Inc., 2004 WI 2, ¶

24, 268 Wis. 2d 16, 673 N.W.2d 65.



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       Among other grounds, WCMIC seeks summary judgment because Christensen acted

outside the scope of his employment, and therefore he was not an insured under the terms

of the policy. Because the court finds that Christensen is not an insured under the policy,

the court will grant WCMIC’s motion without reaching its arguments concerning

exclusions.4

       To determine whether Christensen acted within the scope of his employment, the

court must consider whether he “was actuated, at least in part, by a purpose to serve the

employer.” Olson v. Connerly, 156 Wis. 2d 488, 500, 457 N.W.2d 479, 484 (1990).

               There is no requirement that serving the employer must be the
               employee’s only purpose or even the employee’s primary
               purpose. Rather, an employee’s conduct is not within the scope
               of his or her employment if it is too little actuated by a purpose
               to serve the employer or if it is motivated entirely by the
               employee’s own purposes (that is, the employee stepped aside
               from the prosecution of the employer’s business to accomplish
               an independent purpose of his or her own).

Id. at 499-500, 457 N.W.2d at 483 (citing Restatement (Second) of Agency § 220 (1958)).5

       Ordinarily, the determination of one’s purpose or motivation would be a fact issue

for the jury, but as previously discussed there are no material facts at issue in this case. See

Graham v. Sauk Prairie Police Commission, 915 F.2d 1085, 1093 (7th Cir. 1990) (“[I]t is

proper to decide the scope of employment issue on a motion for summary judgment so long

as the underlying facts are not in dispute and reasonable inferences leading to conflicting

results cannot be drawn from the undisputed facts.”); see generally Montgomery v. Am. Airlines,


4
  Even if there were an initial grant of coverage, defendant also asserts that exclusions for willful
violation of penal statutes, bodily injury that is expected or intended from the standpoint of the
insured, and for errors or omissions arising from a deliberately wrongful act apply.

5
 The “conduct” at issue is the conduct “for which liability is sought to be imposed.” Pamperin, 144
Wis. 2d at 198 n.3, 423 N.W.2d at 852 n.3.
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Inc., No. 08-3951, 2010 WL 4670173, at *3 (7th Cir. Nov. 19, 2010) (“[D]isputed facts

that are not outcome-determinative are not material and will not preclude summary

judgment.”).

       Christensen has admitted -- and plaintiffs have no basis for disputing -- that

Christensen’s sexual contact with them was done solely for sexual or other personal

gratification, and not for a legitimate penological purpose. Nor would a reasonable jury

have any basis to infer otherwise. Thus, Christensen acted outside the scope of his agency,

and MCMIC has no duty to defend or cover Christensen. See Lola M. v. City of Milwaukee,

252 Wis. 2d 768, ¶ 11, 2002 WL 234234, at *3 (Ct. App. 2002) (affirming summary

judgment to city on scope of employment issue where police officer sexually assaulted

plaintiff during investigation); Block v. Gomez, 201 Wis. 2d 795, 807, 549 N.W.2d 783, 788

(Ct. App. 1996) (affirming trial court’s ruling as a matter of law that drug abuse counselor

was not acting within the scope of his employment when he engaged in a sexual relationship

with a mental health patient); Gallun v. Soccer U.S.A., Inc., 184 Wis. 2d 401, 1994 WL

133053, at *3 (Ct. App. Apr. 19, 1994) (affirming summary judgment for employer where

employee videotaped plaintiff in locker room, finding there was “absolutely no factual basis

for any reasonable inference that [employee’s] conduct . . . was in any way actuated by any

purpose to serve Soccer, U.S.A.”) (unpublished).

       While plaintiffs argue otherwise, the allegations in the complaint, as well as the

undisputed facts of record, are unlike those in the cases relied on by plaintiffs, where courts

found tortious conduct was a means -- albeit an improper means -- to further the employer’s

purpose. For example, in Graham v. Sauk Prairie Police Commission, 915 F.2d 1085 (7th Cir.

1990), a police officer responding to a call from a DNR conservation warden, fired two

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shots in the back of a suspect’s head after the suspect was already handcuffed and lying face

down. Id. at 1088. Moreover, at the time of the shooting, there was no dispute that the

suspect was not fleeing and posed no threat of death or serious injury to the police officer or

to any other. Id. Nevertheless, in affirming the district court’s summary judgment holding

the officer’s employer liable, the Seventh Circuit found that the Sauk Prairie Police

Commission and the Villages of Sauk City and Prairie Du Sac were required by Wisconsin

law to indemnify the defendant’s estate for any monetary damages that might be entered

against him. Id. The court explained: “Our focus must be on the nature of the services

contemplated, not the outcome of the employee’s acts. . . . Here, as in Bell, Mueller’s

shooting was unquestionably a method, even though quite an improper one, of carrying out

the objects of his employment.” Id. at 1095 (citing Bell v. City of Milwaukee, 536 F. Supp.

462, 478 (E.D. Wis. 1982) (holding city was required to indemnify officer who lied during

an investigation in order “to further his own objective of escaping punishment for his

wrongdoing” because “[h]e was performing his duties as a police officer but used quite

improper methods of carrying out those duties”)).

       The distinction between the alleged conduct at issue here and that characterized as at

least partially actuated to further the State’s interest is illustrated in Jude v. City of Milwaukee,

No. 06C1101, 2010 WL 2643383, at *1 (E.D. Wis. June 30, 2010). In that case, the

defendant officer was accused of stomping on a plaintiff’s head two or three times, as well as

failing to intervene when other individuals kicked, punched and tortured the plaintiff. The

court denied the city’s motion for summary judgment on the issue of indemnification, in

part, because “[i]t is conceivable that [the defendant officer] acted within the scope of

employment when and if he failed to intervene but not when he stomped on Jude’s head.”

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Id. at *3.    Therefore, “the scope of the City’s liability for indemnification cannot be

determined until plaintiff establishes whether [the police officer’s] liability is based on his

excessive force, his failure to intervene, or both.” Id.

       Admittedly, courts have focused on whether the alleged misconduct was “made

possible by virtue” of the defendant employee’s status or position. For example, in Estate of

Watts v. Heine, No. 07-CV-644, 2008 WL 4058032 (E.D. Wis. Aug. 26, 2008), the court

denied a defendant county’s motion for summary judgment on the indemnification issue

because the claims arose out of a sexual assault by a deputy sheriff on an inmate at the

Milwaukee County Jail. Id. at *1. In denying the county’s motion, the court explained: “A

reasonable trier of fact could find that [the deputy sheriff’s] sexual misconduct was not

wholly disconnected from the scope of his employment. A jury could conclude that his

supervision of and interaction with inmates, both inside and outside their cells, was part of

his job and the sexual assault was only made possible by virtue of his status as a deputy sheriff.” Id.

at *5 (emphasis added).

       To the extent the court in Estate of Watts focused on the deputy sheriff’s position,

rather than his intent, its holding appears inconsistent with the Wisconsin Supreme Court’s

decision in Olson, which expressly disavows cases that “eliminate the employee’s intent as a

factor” in a scope of agency analysis, because “they are inconsistent with what we have said

here and are thus incorrect under Wisconsin law.” 156 Wis. 2d at 501 n.13, 457 N.W.2d

at 484 n.13; see also Gallun, 1994 WL 133053, at *3 (“The fact that Nelson’s conduct

occurred within the time and space of his employment, and the fact that without his

employment he would not have had the opportunity to conduct himself as alleged, are



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inadequate to carry the conduct within the scope of employment.”). 6 As recognized by the

Seventh Circuit in Graham, and consistent with the Restatement (Second) of Agency, the

employee’s intent to further the purposes of employment must be considered in determining

whether a defendant employee acted within the scope of that employment under Wisconsin

law.7

        By focusing on whether the defendant’s acts were only made possible by virtue of his

position or status, the court in Estate of Watts blurred the “scope of employment” test with

the test for determining whether a defendant was acting “under color of law” for purposes of

42 U.S.C. § 1983. As the Seventh Circuit explained in Graham, however, “[t]he ‘under

color of law’ category is broader than the ‘scope of employment’ category.” 915 F.2d at

1093 (citing Cameron v. City of Milwaukee, 102 Wis. 2d 448, 456, 307 N.W.2d 164, 168

(1981) (question of an employee acting within scope of employment is different than the

question of whether a government employee is acting “under color of law”)).

        There are, of course, certain cases where the employee’s actions may have a dual

motive -- both to further the purposes of employment and to further his or her own interests.

Hibma v. Odegaard, 769 F.2d 1147, 1153 (7th Cir. 1985) (recognizing that an employees’

6
  For this reason, plaintiffs’ reliance on Doe v. City of Chicago, 360 F.3d 667 (7th Cir. 2004), and West
v. Waymire, 114 F.3d 646 (7th Cir. 1997), are also of no assistance, since neither applied the test
under Wisconsin law.

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  The more recent Restatement (Third) of Agency also requires an intent element in determining
whether an employee or agent acted within the scope of employment or agency. “An employee acts
within the scope of employment when performing work assigned by the employer or engaging in a
course of conduct subject to the employer’s control. An employee’s act is not within the scope of
employment when it occurs within an independent course of conduct not intended by the employee
to serve any purpose of the employer.” § 7.07 (2006). The Wisconsin Supreme Court has cited to
the Restatement (Third) with approval. See Russ ex rel. Schwartz v. Russ, 2007 WI 83, ¶ 50 n.11, 302
Wis.2d 264, 734 N.W.2d 874; Hoida, Inc. v. M & I Midstate Bank, 2006 WI 69, ¶ 39 n.17, 291
Wis.2d 283, 717 N.W.2d 17.


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actions can be “designed to further their own objectives” as well as to further the objective

of the employer). Given the claimed conduct at issue here, and given Christensen’s own

admission, a gray area where Christensen acted both to further his own interests and the

objectives of his employer is simply not arguable, much less sufficiently established to allow

a reasonable jury to find that Christensen engaged in sexual contact with plaintiffs while at

the same time acting within the scope of his employment. Accordingly, WCMIC is entitled

to summary judgment.



                                          ORDER

       IT IS ORDERED that:

       1) Wisconsin County Mutual Insurance Corporation’s motions for summary
          judgment (‘428 dkt. #30; ‘433 dkt. #31) are GRANTED. Intervenor WCMIC
          has no duty to defend or cover defendant Darryl L. Christensen.

       2) The clerk of court is directed to enter judgment in Wisconsin County Mutual
          Insurance Corporation’s favor on its intervenor complaint.

       Entered this 28th day of November, 2016.

                                          BY THE COURT:

                                          /s/
                                          ________________________________________
                                          WILLIAM M. CONLEY
                                          District Judge




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